               Case 1:20-cv-00706-DAD-EPG Document 32 Filed 04/07/21 Page 1 of 3
                        UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF CALIFORNIA


CENTER FOR BIOLOGICAL DIVERSITY , ET
AL. ,

                             V.                               SUMMONS IN A CIVIL CASE
UNITED STATES BUREAU OF RECLAMATION
, ET AL. ,
                                                       CASE NO: 1:20−CV−00706−DAD−EPG




   TO: Hills Valley Irrigation District, Holthouse
Water District, International Water District, James
Irrigation District, Kanawha Water District,
Kern−Tulare Water District, Kirkwood Water
District, La Grande Water District, Laguna Water
District, Lower Tule River Irrigation District,
Maxwell Irrigation District, Mercy Springs Water
District, Mountain Gate Community Services
District, Myers−Marsh Mutual Water Company,
Orland−Artois Water District, Pacheco Water
District, Pajaro Valley Water Management Agency,
Panoche Water District, Patterson Irrigation
District, Pixley Irrigation District
Defendant's Address:




   YOU ARE HEREBY SUMMONED and required to serve on



John T. Buse
Center for Biological Diversity
1212 Broadway, Suite 800
Oakland, CA 94612

an answer to the complaint which is served on you with this summons, within 21 days after
service of this summons on you, exclusive of the day of service. If you fail to do so, judgment by
default will be taken against you for the relief demanded in the complaint. Any answer that you serve
on the parties to this action must be filed with the Clerk of this Court within a reasonable period
of time after service.
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 KEITH HOLLAND
CLERK




 /s/ E. Flores




(By) DEPUTY CLERK                                    ISSUED ON 2021−04−07 08:53:43 , Clerk
                                                                USDC EDCA
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                                                              RETURN OF SERVICE
                                                          DATE
Service of the Summons and complaint was made by me (1)
NAME OF SERVER (PRINT)                                    TITLE


Check one box below to indicate appropriate method of service




               Served personally upon the defendant. Place where served: _______________________________________
               ________________________________________________________________________
               Left copies thereof at the defendant's dwelling house or usual place of bode with a person of suitable age and
               discretion then residing therein.

               Name of person with whom the summons and complaint were left:__________________________________

               Returned unexecuted:_____________________________________________________________________
               _________________________________________________________________________
               ________________________________________________________________________
               Other (specify) :_________________________________________________________________________
               ________________________________________________________________________
               ________________________________________________________________________



                                                          STATEMENT OF SERVICE FEES
TRAVEL                                       SERVICES                                             TOTAL

                                                            DECLARATION OF SERVER

             I declare under penalty of perjury under the laws of the United States of America that the foregoing information
          contained in the Return of Service and Statement of Service Fees is true and correct.


          Executed on            ___________________                    _______________________________________
                                               Date                     Signature of Server

                                                                        _______________________________________
                                                                        Address of Server
